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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 JOHN DOE,

                        Plaintiff,
                                                          Civil Action No: 1:21-cv-12060-RGS
        v.

 MASSACHUSETTS INSTITUTE OF
 TECHNOLOGY,

                        Defendant.


       PLAINTIFF JOHN DOE’S NOTICE REGARDING THE USE OF EXPERTS

       Plaintiff John Doe (hereinafter “Plaintiff” or “Doe”), by his attorneys, Nesenoff &

Miltenberg, LLP, respectfully submits the following notice regarding the use of experts, in

accordance with the Court’s Order of May 3, 2023. [ECF No. 34].

       1.       On May 2, 2023, Plaintiff and Defendant Massachusetts Institute of Technology

(“MIT” or “Defendant”) (collectively, the “Parties”) jointly moved the Court to extend the case

deadlines.

       2.       The Court granted the relief requested by the Parties on May 3, 2023 [ECF No. 34]

and set forth the following deadlines:

                         Date                                      Deadline
                     July 11, 2023                    Deadline to notify Court whether a
                                                         party intends to use an expert
                     July 17, 2023                   Deadline to notify the Court whether
                                                    the Parties would like to participate in
                                                        the Court’s mediation program
                    August 8, 2023                   Deadline to complete fact discovery
                   September 5, 2023                    Deadline to submit dispositive
                                                                   motion(s)
                  September 26, 2023                 Deadline to submit opposition to any
                                                             dispositive motion(s)



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       3.       At this time, Plaintiff intends to utilize an expert on the topic of economic damages

to quantify the harm he suffered due to the procedurally defunct process that culminated in his

expulsion from MIT—an elite institution of higher education—when his education was nearly

complete.

       WHEREFORE Plaintiff respectfully requests that the Court schedule expert deadlines,

accordingly.


Dated: Boston, Massachusetts
       July 11, 2023
                                              Respectfully submitted,

                                              NESENOFF & MILTENBERG, LLP
                                              Attorneys for Plaintiff John Doe

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                                 CERTIFICATE OF SERVICE

        I, Regina M. Federico, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be served upon anyone indicated as a non-registered participant.

                                                  /s/ Regina M. Federico
                                                      Regina M. Federico




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